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                       UNITED STATES DISTRICT COURT
                   IN THE EASTERN DISTRICT OF MICHIGAN


 SAMANTHA J. PHIPPS,                                 :
                                                     :
       Plaintiff                                     :
 v.                                                  :       Case No.
                                                     :       Jury Trial Demanded
 MCNEELY LAW GROUP, P.C. and
 CHRISTOPHER E. MCNEELY,

       Defendant(s).
 __________________________________________/


                                      COMPLAINT

        Plaintiff, Samantha J. Phipps (“Plaintiff”), by and through her attorney, the Law

 Offices of Nicholas A. Reyna P.C., alleges the following:

                                    Nature of Action

        1. Plaintiff brings this action against the Defendant debt collectors, seeking

 damages and equitable relief, to redress the Defendants’ systemic violations of the Fair

 Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and violations of the

 Michigan Collection Practices Act (“MCPA”), M.C.L. § 445.251 et seq. This action

 arises from the Defendants’ informed and negligent violation of the bankruptcy discharge

 injunction imposed upon them under 11 U.S.C. § 524 pursuant to the Plaintiff’s

 corresponding bankruptcy filing, such resulting from the Defendants’ attempted

 collection of consumer debt owed to OneMain Financial Group (USA), N.A.

                                          Parties

        2. Plaintiff Samantha J. Phipps is a citizen of Michigan residing in Grand Rapids

 Michigan.




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        3. Defendant McNeely Law Group, P.C. (“McNeely Law”) is a Michigan-based

 Domestic Professional Corporation whose registered office is located at 1700 W. Hamlin

 Road (Suite 100) in Rochester Hills, MI 48309. McNeely Law uses interstate commerce

 and the mails in a business whose principal purpose is the collection of debt. McNeely

 Law regularly collects or attempts to collect, directly or indirectly, debt owed or due or

 asserted to be owed or due another. McNeely Law is a “debt collector” as the term is

 defined and used in the FDCPA. McNeely Law is a “regulated person” as the term is

 defined and used in the MCPA.

        4. Defendant Christopher E. McNeely is a natural person residing in Michigan.

 Mr. McNeely is presumably the owner and chief shareholder of McNeely Law. Mr.

 McNeely is licensed to practice law in Michigan. Mr. McNeely uses interstate commerce

 and the mails in a business whose principal purpose is the collection of debt.          Mr.

 McNeely regularly collects or attempts to collect, directly or indirectly, debt owed or due

 or asserted to be owed or due another. Mr. McNeely is a “debt collector” as the term is

 defined and used in the FDCPA. Mr. McNeely is a “regulated person” as the term is

 defined and used in the MCPA.

        5. During all times pertinent hereto, the Defendants directly and indirectly

 participated in efforts to collect alleged debts from the Plaintiff and presumably others as

 stated below in this complaint.

        6. The acts and omissions of Defendant Mr. McNeely were incidental to or of

 the same general nature as the responsibilities that he was authorized to perform by

 McNeely Law in collecting consumer debt(s). By committing such acts Mr. McNeely

 was motivated to benefit McNeely Law, and as such is liable to the Plaintiff through the




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 Doctrine of Respondeat Superior for the intentional and negligent acts, errors, and

 omissions done in violation of state and federal law by its’ collection.

        7. A shareholder, owner, office member, manager, employee or agent of a

 corporate debt collector can be held liable for violating the FDCPA, without piercing the

 corporate veil, by being directly involved in the day-to-day operation of the company

 including the training managing of employees, reviewing or supervising the review of

 accounts, materially participating in the activities of the company, supervision collection

 activities, overseeing compliance with applicable collection laws, ratifying unlawful acts,

 and the like for the reason that each such individual is himself a “debt collector” within

 the statutory definition, names, each is a person in a business, “the principal purpose of

 which is the collection of any debts, or who regularly collects or attempts to collect,

 directly or indirectly, debts owed or due asserted to be owed or due another.” 15 U.S.C

 1692a(6). Kistner v Law Offices of Michael P. Margelefsky, LLC, 518 F.3d 433, 433-438

 (6th Cir. 2008); Russell v. Goldman Roth Acquisitions, LLC, 847 F. Supp. 2d 994, 1004-

 06(W.D.Mich. 2012).



                                  Jurisdiction and Venue

        8. This Court has jurisdiction under 15 U.S.C. § 1692(k)(d) et seq (FDCPA) and

 28 U.S.C. §§ 1331 and 1337. This Court has supplemental jurisdiction regarding the

 Plaintiff’s state law claims under 28 U.S.C. § 1367. Venue in this jurisdiction is proper

 because the Defendants transact business here, the pertinent events took place here, and

 the Defendant resides here.




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                                   Factual Background

        9. On or about May 2, 2019 the Defendants representing OneMain Financial

 Group, LLC obtained a default judgment against the Plaintiff in the 61st District Court of

 Michigan (case number 2019-GC-1990).

        10. The Debt owed to OneMain Financial Group was for credit card purchases,

 which were used for personal, family or household purposes and is therefore

 representative of “consumer debt” as that term is defined by 15 U.S.C 1692a(5).

        11. On October 25, 2019, the Plaintiff filed a Chapter 7 bankruptcy case in the

 Western District of Michigan (case number 19-04516-jwb). To confirm, the above-

 referenced debt to OneMain Financial Group was listed on the Plaintiff’s filed List of

 Creditors (Schedule F) at that time, with both OneMain and their attorneys presumably

 receiving notice of same shortly thereafter.

        12. On October 31, 2019 a non-periodic Garnishment against the Plaintiff was

 filed with the 61st District Court on behalf of OneMain Financial Group by the Defendant

 despite the foregoing.

        13. The Plaintiff’s Chapter 7 bankruptcy case was ultimately discharged on March

 5, 2020, with any amount due and owing to OneMain Financial Group pursuant to the

 above-referenced debt formally and finally discharged in full as of that date.

        14. On or around May 1, 2020, amounts totaling $192.56 were garnished from the

 Plaintiff’s pay post-discharge on behalf of OneMain Financial Group by the Defendant,

 facts which were acknowledged by the Defendant in writing via email at that time-




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        15. As a corollary, even if the Defendant were to attempt to argue it was not

 previously aware of the underlying debt being subject to discharge despite having

 received written verification of same both at the time of the Plaintiff’s prior bankruptcy

 filing and discharge, it had now received on multiple occasions, written notices and

 emails regarding same.

        16. Nevertheless, on August 27, 2021 a second Periodic Wage Garnishment along

 with a separate Income Tax Garnishment request were each again filed on behalf of

 OneMain by the Defendant (see Exhibit A) pursuant to the now-discharged debt-




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        17. The Fair Debt Collection Practices Act states that it is unlawful for a debt

 collector to use any false, deceptive, or misleading representation or means in connection

 with the collection of any debt. 15 U.S.C. § 1692e.

        18. It is undisputed that OneMain Financial Group did not have a legal right to

 collect on the State Court Judgment and the issuance of a wage garnishment against the

 Plaintiff by the Defendant on its’ behalf was by extension illegal as a result. The FDCPA

 states that it is unlawful for a debt collector to make a false representation of the

 character, amount, or legal status of any debt. 15 U.S.C. §1692e(2)(A).

        19. The FDCPA states that it is unlawful for a debt collector to communicate to

 any person credit information which is known or which should be known to be false. 15

 U.S.C. § 1692e(8).

        20. The FDCPA states that it is unlawful for a debt collector to use any false

 representation or deceptive means to collect or attempt to collect any debt. 15 U.S.C. §

 1692e(10).

        21. The FDCPA states that it is unlawful for a debt collector to use unfair or

 unconscionable means to collect or attempt to collect any debt, including the collection of

 any amount (including any interest, fee, charge, or expense incidental to the principal

 obligation) unless such amount is expressly authorized by the agreement creating the debt

 or permitted by law. 15 U.S.C. § 1692f(1).

        22.     The Defendants violated, among other subsections of the FDCPA, 15

 U.S.C. §§ 1692e and 1692e(2)(A), (8), and (10), and 1692f(1). See, e.g., Watkins v.

 Peterson Enterprises, Inc., 57 F.Supp.2d 1102 (E.D. Wash. 1999).

        23. The FDCPA is a strict liability statute and thus proof of one violation thereof




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 is sufficient to support a finding of summary judgment in favor of a Plaintiff. Cacace v

 Lucas, 775 F. Supp. 502, 505 (D. Conn. 1991). Moreover, a plaintiff in such instances

 does not need to prove knowledge or intent. McCollough v. Johnson, Rodenburg &

 Lauinger, LLC, 637 F.3d 939, 952 (9th Cir. 2011). The Plaintiff also does not have to

 have suffered actual damages. Kistner v. Law Offices of Michael P. Margelefsky, LLC,

 518 F.3d 433, 437 (6th Cir. 2008).

        24. The described acts and omissions of the Defendants were done in connection

 with efforts to collect an alleged debt from Ms. Phipps, such having been done

 intentionally and willfully.

        25. The Defendants intentionally and willfully violated the FDCPA

        26. As a direct and proximate result of the Defendants’ negligence, the Plaintiff

 suffered a substantial and unjustifiable financial loss.

        27. As a further direct and proximate result of the Defendants’ negligence, the

 Plaintiff has sustained consequential damages, including attorney fees and legal expenses.

                                         Conclusions of Law

        28. Pursuant to 11 U.S.C. §524(a)(1), a discharge in a bankruptcy case under title

 both “voids any judgment at any time obtained, to the extent that such judgment is a

 determination of the personal liability of the debtor with respect to any debt discharged.”

 In addition, pursuant to 11 U.S.C. 524(a)(2), such a discharge “operates as an injunction

 against the commencement or continuation of an action, the employment of process, or

 an act, to collect, recover, or offset any such debt as a personal liability of the debtor.”

 Subsection (a)(3) specifically holds that a discharge operates as an injunction against the

 commencement or continuation of an action…to collect, or recover from, or offset any




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 such debt as a personal liability of the debtor.

         29. According to the Sixth Circuit in In re Madaj, 149 F. 3d 467 (1998), even an

 unscheduled debt, which is a debt that was not expressly listed in the debtor’s bankruptcy

 case, is still dischargeable in a “no-asset” case.

         30. Michigan courts have previously held that the omission of the bona-fide error

 defense in this state but otherwise available as an affirmative defense in other

 jurisdictions allowing debt collectors to show that their violation was unintentional

 signifies Michigan’s specific intent to avoid absolving debt collectors of liability, even

 for unintentional mistakes. Gamby v. Equifax Information Services, LLC, 2010 U.S. Dist.

 Lexis 1157, 1165 (E.D. Mich. Jan. 7, 2010).

         31. Moreover, even under the FDCPA, outside of the relatively narrow bona-fide

 error exception, even a good-faith error can still give rise to liability. More specifically,

 prior cases have held that a creditor violated § 1692e by improperly seeking payment of a

 debt already discharged in bankruptcy. Turner v. J.V.D.B. & Assocs., Inc., 330 F. 3d 991,

 995 (7th Cir. 2003). As a result, the plain language of the MCPA and cases interpreting

 the FDCPA show unequivocally that it is immaterial whether parties such as the

 Defendants knew their statements were false or misleading at the time they seek

 repayment on a debt discharged as a part of a prior bankruptcy filing.



                          COUNT I- VIOLATION OF 15 U.S.C. § 1692

         32. Plaintiff incorporates by reference the aforementioned allegations as if

 restated fully herein word for word.

         33. This jurisdiction is reliant upon the “least sophisticated debtor” standard to




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 determine whether a communication might effectively deceive an unsophisticated

 consumer under 15 U.S.C. 1692. Smith v Computer Credit, 167 F.3d 1052 (6th Cir.

 1999). More specifically, “the fact that a false statement may be obviously false to those

 who are trained and experience does not change its character, nor take away its power to

 deceive others less experienced.” Federal Trade Commission v Standard Education

 Society, 302 U.S. 112, 116, 50 S.Ct. 113, 115, 82 L.Ed. 141 (1937). It seems sensible to

 suggest that a collection attempt such as the one in this instance which is crafted to

 suggest that an amount discharged as part of the Plaintiff’s prior bankruptcy filing

 nevertheless remains due and owing such that the Plaintiff will be immediately subject to

 a garnishment of both her wages and state income tax refund unless the amount is

 satisfied would certainly possess the potential to confuse a less sophisticated Debtor such

 as the Plaintiff in this instance, which it did.

         34. Indeed, The Supreme Court has established that the FDCPA “applies to the

 litigating activities of lawyers,” Heintz v. Jenkins, 514 U.S. 291, 294 (1995) and, more

 specifically, that “litigating…seems simply one way of collecting a debt.” Heintz at 297.

 As an obvious corollary, litigation such as the initiation of a garnishment action like the

 one instituted against the Plaintiff in this instance amounted to a clear attempt to collect

 upon a debt, which by extension could be used against an unsophisticated consumer in an

 unfair or deceptive manner.

         35. Contact between a debt collector and a debtor violates the FDCPA if it

 explicitly or implicitly represents that the debt collector can sue on a debt when it cannot

 do so. Kimber v Federal Fin. Corp., 668 F. Supp. 1480, 1489 (M.D. Ala. 1987). Indeed

 in this instance, the Defendant did not merely represent that it possessed the ability to sue




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  on the debt by instituting a garnishment against the Plaintiff despite the fact that it clearly

  could not do so as a result of the Plaintiff’s previous bankruptcy filing and subsequent

  discharge, it in fact took formal and proactive measures following the Plaintiff’s

  bankruptcy discharge to carry out that illicit garnishment.

         36. For a communication to be in connection with the collection of a debt, an

  animating purpose of the communication must be to induce payment by the debtor.”

  Grden v Leikin Ingber & Winters PC, 643 F.3d 169, 173 (6th Cir. 2011). Obviously, the

  issuance of a garnishment against the Plaintiff as executed by the Defendants inarguably

  possessed one singular, animating purpose- to induce payment by the Plaintiff by way of

  a direct garnishment, despite the fact that again the debt had been previously discharged

  in bankruptcy. Compelling payment by the Plaintiff in this instance was not only the

  animating purpose of the garnishment but indeed the intended outcome.

         37. The Defendants violated the above-referenced subsections of 15 U.S.C. §

  1692e by falsely representing the character, amount, or legal status of the Plaintiff’s Debt,

  specifically by attempting to collect a debt that was discharged in bankruptcy and

  mischaracterizing that debt as presently due and owing following the filing of the

  Plaintiff’s bankruptcy case by attempting to obtain a Writ of Garnishment thereupon. By

  communicating false and deceptive information to the Plaintiff and his counsel, the

  Defendants clearly operated in contravention of the referenced statute.

         38. Generally, the FDCPA permits recovery of actual damages for emotional

  distress. More specifically, pursuant to 15 U.S.C. § 169k(a)(1), “any debt collector who

  fails to comply with the FDCPA with respect to any person is liable to such a person in

  an amount to the sum of…any actual damages sustained by such person as a result of




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  such failure. Commentary to the FDCPA goes on to state that such actual damages for

  FDCPA violations include “damages for personal humiliation, embarrassment, mental

  anguish, or emotional distress,” as well as “out-of-pocket” expenses.” Staff Commentary

  on the Fair Debt Collection Practices Act, 53 Fed. Reg. 50097, 50109 (Dec. 13 1988).

  See also Beeker v. Montgomery, Lynch, 2003 WL 23335929 at 2 (N.D. Ohio) (FDCPA

  permits recovery of actual damages for emotional distress).

         39. Districts within the Sixth Circuit including the Northern District of Ohio have

  concluded that the FDCPA does not require a plaintiff to satisfy the state law elements of

  intentional or negligent infliction of emotional distress to recover actual damages for such

  under 15 U.S.C. § 1692k(a). Id at 2. See also Minick v. First Federal Credit Control, Inc.

  1981 U.S. Dist. LEXIS 18622, at 3-4 (N.D. Ohio). “Actual damages for emotional

  distress can be proved independently of state law requirements” for intentional or

  negligent infliction of emotional distress. Smith v. Law Offices of Mitchell N. Kay, 124

  B.R. 182, 188 (D. Del. 1991). In addition, courts have previously concluded that a

  Plaintiff may prove actual damages for emotional distress purely through his or her own

  testimony. Wantz v. Experian Information Solutions, 386 F.3d 829, 834 (7th Cir. 2004).

         40. Moreover, under the FCRA, actual damages may include economic damages

  and damages for “humiliation and mental distress.” Bryant v. TRW, Inc., 487 F. Supp.

  1234, 1239-40 (E.D. Mich. 1980). The court in that instance instructed the jury to

  consider mental anguish, embarrassment, and humiliation in determining the proper

  measure of actual damages to award the victim of a FRCA violation. Id at 1239. Such is

  particularly important given that the damages standard under the FRCA has been looked

  to when determining the appropriate standard under the FDCPA. Smith at 187.




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         41. Furthermore the Defendants violated 15 U.S.C. § 1692b(2) by stating to the

  Court that the Plaintiff owed a debt when in fact it had been discharged in bankruptcy.

         42. The Defendants violated 15 U.S.C.§ 1692b(6) and 15 U.S.C. §1692c(a)(2) by

  conducting prohibited communications by indirectly contacting the Plaintiff knowing the

  Plaintiff was represented by counsel and that the debt upon which the communication

  was based was discharged in bankruptcy.

         43. The Defendants violated 15 U.S.C. §1692b(6) and 15 U.S.C. §1692c(a)(2) by

  conducting prohibited communication by contacting third parties related to the

  discharged debt despite knowledge Plaintiff was represented by counsel and that the debt

  had been discharged in bankruptcy.

         44. The Defendants violated 15 U.S.C.§ 1692d by seeking and obtaining a Writ of

  Garnishment against the Plaintiff after the debt had been discharged in bankruptcy, the

  natural intent and consequence of which was to harass, oppress, and abuse the Plaintiff.

         45. The Defendants violated 15 U.S.C. §1692e(2) by making false statements

  regarding the character, amount, and legal status of the debt knowing it had been

  discharged in bankruptcy.

         46. The Defendants violated 15 U.S.C. §1692e(5) by taking legal action they

  could not legally take because the subject debt had been discharged in bankruptcy.

         47. The   Defendants violated 15 U.S.C.          §1692e(10) by making false

  representations and taking deceptive means to collect a debt that had been discharged in

  bankruptcy.

         48. The Defendants violated 15 U.S.C. §1692f and 15 U.S.C. §1692f(1) in using

  unfair, deceptive, and unauthorized means to collect a debt that had been discharged in




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  Chapter 7 Bankruptcy.

         49. As an actual and proximate result of the acts and omissions of the Defendants,

  the Plaintiff has suffered actual damages and injury, including but not limited to,

  monetary loss, fear, stress, mental anguish, emotional stress, anxiety, for which the

  Plaintiff should be compensated in an amount to be established by jury and at trial.

         COUNT II- VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

         50. Plaintiff incorporates by reference the aforementioned allegations as if

  restated fully herein word for word.

         51. The Defendants represent a “collection agency” as that term is defined in the

  Michigan Occupational Code (“MOC”), M.C.L. § 339.901(b).

         52. The Plaintiff is a debtor as that term is defined in M.C.L. § 339.901(f).

         53. The Defendants’ foregoing acts in attempting to collect the alleged debt at

  issue violated MCL § 339.915e, which prohibits a Licensee from “making an inaccurate,

  misleading, untrue, or deceptive statement or claim in a communication to collect a debt

  or concealing or not revealing the purpose of a communication when it is made in

  connection with collecting a debt.”

         54. The Defendants’ foregoing acts in attempting to collect this alleged debt

  violated MCL 339.915f, which prohibits a Licensee from “misrepresenting in a

  communication with a debtor any of the following: (i) the legal status of a legal action

  being taken or threatened and/or (ii) the legal rights of the creditor or debtor.”

         55. The Defendants violated M.C.L. 339.915(q) by failing to implement a

  procedure designed to prevent a violation by an employee.

         56. The Defendants’ violations of the Michigan Occupational Code were willful.




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         57. As an actual and proximate result of the acts and omissions of the Defendants,

  the Plaintiff has suffered actual damages and injury, including but not limited to,

  monetary loss, fear, stress, mental anguish, emotional stress, anxiety, loss of sleep and

  suffering, not to mention causing counsel for Plaintiff-Debtor unnecessary additional

  work by having to deal with the situation, for which the Plaintiff should be compensated

  in an amount to be established by jury and at trial.

    COUNT III- VIOLATION OF THE MICHIGAN COLLECTION PRACTICES
                                ACT


         58. Plaintiff incorporates by reference the aforementioned allegations as if

  restated fully herein word for word.

         59. The Defendants represents a “Regulated Person” as that term is defined in the

  Michigan Collection Practices Act (“MCPA”), at MCL § 445.251.

         60. Plaintiff is a “Consumer” as that term is defined at MCL § 445.251.

         61. Generally speaking, “the Michigan Collection Practices Act prohibits abusive

  collection efforts…with respect to obligations arising out of a ‘purchase made primarily

  for personal, family, or household purposes.” Levant v. Am. Honda. Fin. Corp., 356 F.

  Supp. 2d 776, 782 (E.D. Mich. 2005).

         62. The Defendants’ foregoing acts in attempting to collect this alleged debt

  violated MCL 445.252e, which prohibits a Regulated Person from “making an inaccurate,

  misleading, untrue, or deceptive statement or claim in a communication to collect a debt

  or concealing or not revealing the purpose of a communication when it is made in

  connection with collecting a debt.”         The Defendants initiated collection and a

  corresponding garnishment specific to debt owed by the Plaintiff which was discharged




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  as a part of her previously-filed bankruptcy case, going so far as to initiate a garnishment

  action against the Plaintiff after the debt related thereto had already been discharged in

  bankruptcy; the threat of garnishment alone when such was an impossibility would be the

  height of misleading deception on the part of the Defendants.

          63. The Defendants’ foregoing acts in attempting to collect this alleged debt

  violated MCL §445.252f, which prohibits a Regulated Person from “misrepresenting in a

  communication with a debt any of the following: (i) the legal status of a legal action

  being taken or threatened and/or (ii) the legal rights of the creditor or debtor.”

          64. The Defendants, specifically by way of the communications between its’

  agents and representatives and the Plaintiff, clearly misrepresented to the Plaintiff his

  legal rights.

          65. Plaintiff has suffered damages as a result of these violations of the Michigan

  Collection Practices Act.

          66. These violations of the MCPA were willful.



                  COUNT IV- INVASION OF PRIVACY BY INTRUSION UPON
                                     SECLUSION

          67. Plaintiff incorporates by reference the aforementioned allegations as if

  restated fully herein word for word.

          68. The Defendants intentionally interfered, physically or otherwise, with the

  solitude, seclusion, and/or private concerns or affairs of the Plaintiff, namely by

  repeatedly and unlawfully attempting to collect a debt discharged in bankruptcy. The

  Defendants intentionally caused harm to the Plaintiff’s emotional well being by

  engaging in highly offensive conduct in the course of collecting this debt



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  thereby invading and intruding upon Plaintiff’s right to privacy. These intrusions and

  invasions by Defendants occurred in a way that would be highly offensive to a reasonable

  person in that position.

         69. The actions of the Defendants resulted in damages to the Plaintiff.



                                       CONCLUSION

                  COUNTS I & IV: VIOLATIONS OF 15 U.S.C § 1692

         WHEREFORE, based upon the foregoing facts, the Plaintiff respectfully

  requests the following relief:

         (A)     Actual damages for Plaintiff pursuant to 15 U.S.C. §1692k and M.C.L.

                 § 339.916(2);

         (B)     Statutory damages for Plaintiff pursuant to 15 U.S.C. §1692k and M.C.L.

                 § 339.916(2);

         (C)     Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k and

                 M.C.L. § 339.916(2); and

         (D)     Such further relief as the court deems just and proper.



   COUNT II & III- VIOLATION OF MICHIGAN OCCUPATIONAL CODE AND

                     MICHIGAN COLLECTION PRACTICES ACT

         WHEREFORE, based upon the foregoing facts, the Plaintiff respectfully

  requests the following relief:

         (A)     Actual damages pursuant to M.C.L. 339.916(2);

         (B)     Treble the actual damages pursuant to M.C.L. 339.916(2);




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        (C)    Statutory damages pursuant to M.C.L. 339.916(2); and

        (D)    Reasonable attorney’s fees and court costs pursuant to M.C.L. 339.916(2).




                               Demand for Trial by Jury




  RESPECTFULLY SUBMITTED,
  LAW OFFICES OF NICHOLAS A. REYNA

  /s/ Nicholas A. Reyna                                    Date: December 1, 2021
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